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                       EXHIBIT Q
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                                                                                                                                                 ORIGINAL RESEARCH
                                                                                                                                                 published: 26 June 2020
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                                                Perinatal Opioid Exposure Primes the
                                                Peripheral Immune System Toward
                                                Hyperreactivity
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                                                The increased incidence of opioid use during pregnancy warrants investigation to
                                                reveal the impact of opioid exposure on the developing fetus. Exposure during critical
                                                periods of development could have enduring consequences for affected individuals.
                                                Particularly, evidence is mounting that developmental injury can result in immune priming,
                                                whereby subsequent immune activation elicits an exaggerated immune response.
                                                This maladaptive hypersensitivity to immune challenge perpetuates dysregulated
                                                inflammatory signaling and poor health outcomes. Utilizing an established preclinical rat
                          Edited by:
                 Lewis Phillip Rubin,           model of perinatal methadone exposure, we sought to investigate the consequences
      MedStar Georgetown University             of developmental opioid exposure on in vitro activation of peripheral blood mononuclear
              Hospital, United States
                                                cells (PBMCs). We hypothesize that PBMCs from methadone-exposed rats would exhibit
                    Reviewed by:
                                                abnormal chemokine and cytokine expression at baseline, with exaggerated chemokine
                   Robert Galinsky,
        Hudson Institute of Medical             and cytokine production following immune stimulation compared to saline-exposed
                Research, Australia             controls. On postnatal day (P) 7, pup PMBCs were isolated and cultured, pooling
                     Sinno Simons,
Erasmus Medical Center, Netherlands             three pups per n. Following 3 and 24 h, the supernatant from cultured PMBCs was
                   *Correspondence:             collected and assessed for inflammatory cytokine and chemokine expression at baseline
                     Lauren L. Jantzie          or lipopolysaccharide (LPS) stimulation using multiplex electrochemiluminescence.
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                                                Following 3 and 24 h, baseline production of proinflammatory chemokine and
                    Specialty section:
                                                cytokine levels were significantly increased in methadone PBMCs (p < 0.0001).
          This article was submitted to         Stimulation with LPS for 3 h resulted in increased tumor necrosis factor (TNF-α) and
                           Neonatology,
                                                C-X-C motif chemokine ligand 1 (CXCL1) expression by 3.5-fold in PBMCs from
                a section of the journal
                  Frontiers in Pediatrics       methadone-exposed PBMCs compared to PBMCs from saline-exposed controls (p <
          Received: 07 January 2020             0.0001). Peripheral blood mononuclear cell hyperreactivity was still apparent at 24 h
            Accepted: 29 April 2020             of LPS stimulation, evidenced by significantly increased TNF-α, CXCL1, interleukin
           Published: 26 June 2020
                                                6 (IL-6), and IL-10 production by methadone PMBCs compared to saline control
                              Citation:
      Newville J, Maxwell JR, Kitase Y,
                                                PBMCs (p < 0.0001). Together, we provide evidence of increased production of
    Robinson S and Jantzie LL (2020)            proinflammatory molecules from methadone PBMCs at baseline, in addition to sustained
 Perinatal Opioid Exposure Primes the           hyperreactivity relative to saline-exposed controls. Exaggerated peripheral immune
   Peripheral Immune System Toward
 Hyperreactivity. Front. Pediatr. 8:272.        responses exacerbate inflammatory signaling, with subsequent consequences on many
       doi: 10.3389/fped.2020.00272             organ systems throughout the body, such as the developing nervous system. Enhanced


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                                                understanding of these inflammatory mechanisms will allow for appropriate therapeutic
                                                development for infants who were exposed to opioids during development. Furthermore,
                                                these data highlight the utility of this in vitro PBMC assay technique for future biomarker
                                                development to guide specific treatment for patients exposed to opioids during gestation.

                                                Keywords: methadone, lymphocyte, PBMC, SPIHR, blood mononuclear cell, neuroinflammation, neonatal
                                                abstinence syndrome, prenatal



INTRODUCTION                                                                      immune activation in the pathophysiology of numerous
                                                                                  neurodevelopmental disorders, such as cerebral palsy, autism
The incidence of opioid abuse in the United States has steadily                   spectrum disorders, Down syndrome, and fetal alcohol spectrum
increased since 2000, today reaching epidemic proportions (1, 2).                 disorders (33–41).
The crisis is illustrated by data demonstrating that the number                      Previously, we reported evidence of neural injury and
of opioid-related hospitalizations increased by 64%, and the                      reduced cognitive functioning in a model of prenatal
number of deaths due to opioid overdose increased by 27%                          opioid exposure, with multiple assays reflecting significant
between the years of 2005 and 2014 (3, 4). Mirroring the national                 neuroinflammation (42). In the aforementioned study, analysis
trend, opioid use by pregnant women has escalated to alarming                     of serum inflammatory cytokine expression of opioid-exposed
rates (5). Opioid use in this population increased 5-fold from                    animals compared to saline-exposed controls demonstrated
2000 to 2009 (6), and the prevalence of women with opioid use                     elevated levels of interleukin 1β (IL-1β), tumor necrosis factor α
disorders at delivery hospitalizations quadrupled between 1999                    (TNF-α), IL-6, and C-X-C motif chemokine ligand 1 (CXCL1),
and 2014 (7).                                                                     indicating systemic inflammatory response syndrome induced
    Prenatal opioid exposure results from maternal use or abuse of                by opioid exposure. Additionally, initial in vitro assessment
illicit opioids, such as heroin, and prescription opioids including               of isolated PBMC from opioid-exposed animals challenged
oxycodone, hydrocodone, morphine, codeine, and fentanyl (8).                      with lipopolysaccharide (LPS) suggested heightened immune
In addition, the maternal use of buprenorphine or methadone,                      reactivity and immune priming toward exaggerated responses to
two synthetic opioids commonly used in opioid maintenance                         stimuli (42).
therapy for individuals suffering from opioid use disorder (9, 10),                  Here, we extend our investigation of opioid-induced
also contribute to prenatal opioid exposure. The growing rate of                  inflammation by thoroughly defining the peripheral immune
women using opioids during pregnancy has led to an increase                       signaling and reactivity of opioid-exposed PBMCs using an
in adverse neonatal outcomes (11, 12). Recent studies showing                     established in vitro assay and biomarker platform (35, 37, 43–
an association between opioid use during pregnancy and poor                       50). These data enhance the understanding of important
health outcomes for both pregnant women and infants highlight                     inflammatory mechanisms, an essential step to inform future
prenatal opioid exposure as a serious public health concern (13,                  development of appropriate therapeutic interventions for infants
14). Opioid-exposed infants represent an extremely vulnerable                     who are exposed to opioids during gestation.
patient population (15), with 50–80% experiencing neonatal
abstinence syndrome (16). Indeed, prenatal opioid exposure
is associated with increased risk of fetal growth restriction,
                                                                                  MATERIALS AND METHODS
preterm birth, and lifelong motor and cognitive deficits (17–                     Animals
25). The devastating consequences of opioid exposure on the                       Sprague–Dawley rat dams and litters were maintained in a
physical health and developmental outcomes of exposed children                    12-h dark–light cycle (lights on at 0800 h), temperature, and
strengthen the need to advance scientific understanding of the                    humidity-controlled facility with food and water available ad
underpinnings of opioid-induced neural injury and to advance                      libitum. All experiments were performed in strict accordance
biomarker development in this patient population.                                 with protocols approved by the Institutional Animal Care and
    Insult during the prenatal period affects ongoing                             Use Committee at the University of New Mexico Health Sciences
developmental processes in the fetus, leading to lifelong                         Center. Protocols were developed and performed consistent with
consequences and health challenges. Both the central nervous                      National Research Council and ARRIVE guidelines (51).
system (CNS) and the immune system undergo complex and
incremental steps toward maturation during gestation (26–                         Opioid Administration
28). New advances in molecular neuroscience have begun to                         Methadone is a full µ-, δ-, and κ-opioid receptor agonist, similar
elucidate the importance of the multifaceted interplay of central                 to heroin, morphine, and fentanyl, whereas buprenorphine
and peripheral immune system in regulating and supporting                         is a partial µ-opioid receptor agonist and κ-opioid receptor
ongoing brain development. Moreover, these advances highlight                     antagonist (52). The use of methadone in our experiments allows
the neurodevelopmental consequences of perinatal immune                           us avoid differential pharmacology related to partial antagonism
activation following perinatal insult (29–33). The findings                       and study the effects from of full agonism at the predominant
from both clinical and preclinical studies implicate perinatal                    opioid receptor subtypes. As previously published (42), osmotic



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minipumps (model 2004; Alzet, Cupertino, CA, USA) primed                  (17144002; GE Healthcare, Chicago, IL, USA) within sterile 15-
with 12 mg/kg of methadone or normal saline were implanted                mL conical tubes. Following centrifugation at 400 g for 30 min
in embryonic day (E) 16 timed-pregnant rat dams (Charles River            at room temperature, the PBMC cell layer was transferred to
Laboratories, Wilmington, MA, USA) (Figure 1). Implantation               a new centrifuge tube and resuspended in three volumes of
on E16 allows in utero opioid exposure from E16 to birth and              RPMI media. Two wash cycles were performed, consisting of
postnatal opioid exposure via milk from birth to postnatal day            centrifugation at 400 g for 10 min at room temperature, disposal
(P) 7 (blood collection). These minipumps allow for continual             of the supernatant, and resuspension of the pellet in three
infusion of methadone or saline at a rate of 0.25 µL per hour for a       volumes of RPMI media. Isolated PBMCs resuspended in media
maximum of 28 days. Under isoflurane-induced anesthesia, dams             were plated in triplicates at a density of 1 × 106 cells/mL on
underwent a minipump placement procedure. Subcutaneous                    3.5-cm Petri dishes.
minipump placement was achieved by transverse 1.5-cm incision.
The subcutaneous area was opened by careful blunt dissection,             Peripheral Blood Mononuclear Cell
and the prefilled, primed osmotic minipump was placed in the              Treatment With LPS
opened space. Following closure of the incision with sutures,             Plated PBMCs from saline and methadone groups were
dams were then returned to their respective home cages, where             stimulated with 10, 50, or 100 ng/mL of LPS to generate a dose
their recovery was closely monitored. When pups were born                 response curve. Based on TNF-α secretion levels at 3 h, we
on E22, they then received methadone through milk ingestion.              determined that stimulation with 100 ng of LPS was ideal to
Postnatal methadone exposure was confirmed by measuring the               produce a robust PBMC secretory response in both treatment
concentration of methadone in dam and offspring urine (42). As            groups. Therefore, consistent with previous studies, 100 ng
previously reported, this paradigm of opioid exposure results in          of LPS was used for LPS challenge experiments (41, 45, 73).
significant pup weight loss at the neonatal and perinatal period.         Supernatant samples were collected at 3 and 24 h in sterile 2-mL
Opioid exposure via 12 mg/kg minipump results in a significant            Eppendorf tubes, snap frozen on dry ice, and stored at −80◦ C
10% reduction in offspring weight at P1 and 23% reduction in              until biochemical analysis.
weight by P21 compared to saline exposed controls (42). These
preclinical data reflect data from clinical studies showing that          Multiplex Electrochemiluminescent
infants of mothers who exclusively used opioids suffered from a           Immunoassay
2 to 10% decrease in birth weight compared to healthy controls            To capture the secretory activity of PBMCs prior to protein
(53, 54). Further, another study found that infants of mothers            synthesis, and then after protein synthesis, the supernatants
on methadone replacement therapy suffered a 19% reduction in              from plated PBMCs were assayed at 3 and 24 h, respectively.
birth weight compared to age-matched controls (55). Thus, this            Subsequently, secreted cytokine and chemokine expression
model replicates the systemic consequences of extended prenatal           was quantified using a V-PLEX Proinflammatory Panel 2
opioid exposure observed in human infants.                                Rat Kit (K15059D; Meso Scale Diagnostics, Rockville, MD,
                                                                          USA) created to detect levels of interferon γ, IL-1β, IL-
                                                                          4, IL-5, IL-10, IL-13, IL-6, CXCL1, and TNF-α. The V-
Peripheral Blood Mononuclear Cell                                         PLEX multielectrochemiluminescent immunoassay (MECI) was
Isolation                                                                 performed according to manufacturer instructions with <5%
At P7, rats are developmentally equivalent to human infants               interassay variation. Specifically, supernatants from cultured
between approximately 32 and 38 weeks’ gestation (56–62).                 PBMCs were diluted 1:4 and, together with prepared standards,
From P7 to P10 in rats and 36–40 weeks’ gestation in humans               were loaded in duplicate onto the manufacturer-provided
(term infant), overall brain growth peaks while important neural          blocked and washed 96-well plates. Then, following a series of
developmental processes, such as gliogenesis and expansion of             washes and incubation with the antibody detection solution,
axonal and dendritic density, occur (60, 63–65, 65–69). During            plates were washed and loaded with the manufacturer-provided
this same developmental period, consolidation of the immune               Read Buffer and read on a Quickplex SQ 120 Imager. Here, we
system in humans and rats occurs, whereby the functional                  report data on the levels of TNF-α and CXCL1 production at 3 h
capacity of immune cells evolves, and the number of circulating           and TNF-α, CXCL1, IL-6, and IL-10 at 24 h. Of note, levels of
leukocytes, neutrophils, and monocytes increases (26–28, 60,              IL-6 and IL-10 at 3 h were below the detectable limit in baseline
70–72). At P7, PBMC isolation was performed as previously                 conditions, as were other cytokine levels in the panel.
published (41). Venous blood was collected from the right atrium
of deeply anesthetized P7 pups and pooled across three animals            Statistical Analyses
in pyrogen-free K2 EDTA Vacutainer tubes (366643; Becton                  To determine appropriate sample size, statistical power was
Dickson, Franklin Lakes, NJ, USA). Each n represents PBMCs                calculated using G∗ Power 3.1.9.7 (Institut für Psychologie, Kiel,
isolated from blood pooled across three separate animals. In              Germany) (74), using estimated means from previous studies
this study, equal numbers of male and female pups were used               (33, 42). Here, we prepared an n of three per treatment group,
throughout. Peripheral blood mononuclear cells were isolated              whereby each n represents isolated PBMCs from three animals
by Ficoll gradient separation (37), whereby equal volumes of              pooled into one sample. Comparisons to determine statistical
peripheral blood and RPMI 1640 media (Gibco, Waltham, MA,                 significance, defined as p < 0.05, were performed within Prism
USA) were combined and layered atop 3 mL of Ficoll-Plaque Plus            7.05 (GraphPad software, San Diego, CA, USA). For comparisons


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 FIGURE 1 | Experimental timeline. Perinatal methadone exposure was accomplished by minipump implantation on E16, permitting pup exposure to methadone during
 critical stages of immune and neurological maturation. On P7, PBMCs from methadone- or saline-exposed pups were isolated for culture and biochemical analysis.




between saline and methadone PMBC secretion, a Student t-test                      Methadone Primes the Peripheral Immune
was used to determine significance. For statistical analysis of the                System Toward Hyperreactivity
dose response to LPS, a one-way analysis of variance (ANOVA)                       To illuminate potential discrepancies in reactivity to immune
with Bonferroni multiple comparisons was performed. To make                        stimulus between treatment groups, PBMCs from methadone
comparisons between treatments (baseline secretion vs. LPS-                        and saline exposed pups were challenged with LPS in vitro. By
stimulated secretion) and to make comparisons between time                         increasing the dose of LPS from 10, to 50, to 100 ng/mL, we
points (3- vs. 24-h secretion), two-way ANOVA was performed                        observed a dose-dependent increase in TNF-α secretion from
with Bonferroni post-hoc analyses.                                                 both saline and methadone PBMCs, compared to PMBCs in
                                                                                   media alone (one-way ANOVA, p < 0.0001) (Figure 3). In
RESULTS                                                                            this assay, addition of media alone resulted in levels of TNF-
                                                                                   α production that were not statistically different from baseline
Methadone Alters Baseline Peripheral                                               levels of TNF-α measured at 3 h, as reported earlier in this
Immune System Signaling                                                            study (one-way ANOVA, p > 0.05). With each dose of LPS,
At 3 h, unstimulated PBMCs from methadone-exposed pups                             PBMCs derived from methadone-exposed animals produced
produced significantly augmented levels of the inflammatory                        greater levels of TNF-α compared to saline PBMCs (one-way
cytokine TNF-α (methadone: 3.589 pg/mL, saline: 0.8142 pg/mL,                      ANOVA, p < 0.001). As 100 ng/mL LPS elicited a significant
t-test, p < 0.0001), as well as CXCL1 (methadone: 1.280 pg/mL,                     response in PBMCs from both methadone- and saline-exposed
saline: 0.0, t-test, p = 0.0004) (Figure 2A).                                      pups, we stimulated a separate cohort of PBMCs with this dose
    After 24 h, the level of TNF-α secreted by saline PBMCs                        and measured cytokine and chemokine levels at 3 and 24 h.
was 41% increased from levels measured at 3 h, whereas                                 At 3 h following stimulation with 100 ng/mL LPS, TNF-
methadone PBMCs demonstrated a 152% increase from levels                           α (methadone: 215.8 pg/mL, saline: 59.08 pg/mL, t-test, p <
measured at 3 h (two-way ANOVA, p < 0.0001). Increased                             0.0001) and CXCL1 (methadone: 53.29 pg/mL, saline: 14.33
production of TNF-α by methadone PBMCs at 24 h (methadone:                         pg/mL, t-test, p < 0.0001) production by PBMCs from P7
9.047 pg/mL, saline: 1.148 pg/mL, t-test, p < 0.0001) was                          methadone-exposed pups was increased compared to PBMCs
accompanied by increased secretion of CXCL1 by methadone                           from saline-exposed controls, representing a 265 and 272%
PBMCs relative to saline PBMCs (methadone: 2.950 pg/mL,                            increase, respectively (Figure 4A). Compared to baseline levels of
saline: 0.0 pg/mL, t-test, p = 0.0004) (Figure 2B). By 24 h,                       unstimulated PBMCS, LPS-stimulated PBMCs derived from both
CXCL1 secretion by methadone PBMCs was 130% increased                              saline and methadone animals produced significantly increased
from measurement at 3 h (t-test, p < 0.0002), whereas levels of                    levels of TNF-α and CXCL1 3 h (two-way ANOVA, p < 0.0001).
CXCL1 production by saline PBMCs remained below detectable                             Following 24 h of LPS stimulation, levels of TNF-α
levels at both the 3- and 24-h time points. Moreover, after 24 h                   (methadone: 412.6 pg/mL, saline: 102.8 pg/mL, t-test, p <
in culture, methadone PBMCs demonstrated additional evidence                       0.0001) and CXCL1 (methadone: 231.6 pg/mL, saline: 38.34
of dysregulated immune signaling, evident by increased IL-6                        pg/mL, t-test, p < 0.0001) produced by methadone PBMCs were
(methadone: 39.82 pg/mL, saline: 0.0 pg/mL, t-test, p < 0.0001)                    increased by 301 and 504%, respectively, compared to levels
and decreased IL-10 expression (methadone: 0.0 pg/mL, saline:                      from saline PBMCs (Figure 4B). Compared to measurements
1.712 pg/mL, t-test, p = 0.0001) (Figure 2C). Together, these data                 taken at 3 h following LPS stimulation, TNF-α secretion at
show significantly altered baseline production of inflammatory                     24 h increased by 74% in saline PBMCs, whereas methadone
signaling molecules by methadone-derived PBMCs at 3 and 24 h                       PBMCs demonstrated a 91% increase (two-way ANOVA, p
compared to controls.                                                              < 0.0001). A similar pattern arose with CXCL1 production.



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 FIGURE 2 | At baseline, PBMCs from methadone-exposed pups demonstrated dysregulated production of inflammatory signaling molecules. (A) At 3 h following
 isolation from P7 pups and plating in media alone, PBMCs from methadone-exposed pups produced significantly increased levels of TNF-α and CXCL1, compared to
 PBMCs from saline-exposed control PBMCs. (B) After 24 h, TNF-α and CXCL1 levels from methadone PBMCs compared to saline were further augmented. (C)
 Additionally, methadone PBMCs produced significantly higher levels of IL-6 and significantly lower levels of IL-10, compared to saline controls (n = 3 per treatment
 group, ***p < 0.001, ****p < 0.0001).




 FIGURE 3 | Peripheral blood mononuclear cells isolated from P7 pups exhibit LPS induced dose-responsive increases in TNF-α production. (A) Increasing doses of
 LPS (10, 50, or 100 ng/mL) elicited significantly augmented secretion of TNF-α from saline and (B) methadone PBMCs, compared to PMBCs in media alone (n = 3
 per treatment group, 1 way ANOVA, ****p < 0.0001).




By 24 h, CXCL1 production by saline PBMCs increased 164%                              < 0.0001). At 24 h, we also found significantly increased levels
from levels measured at 3 h, whereas CXCL1 produced by LPS-                           of IL-6 (methadone: 409.4 pg/mL, saline: 111.7 pg/mL, t-test,
challenged methadone PBMCs rose 334% (two-way ANOVA, p                                p < 0.0001) and IL-10 (methadone: 20.35 pg/mL, saline: 1.442



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 FIGURE 4 | Stimulation with LPS revealed hyperreactivity of PBMCs from methadone-exposed pups. (A) At 3 h, TNF-α and CXCL1 production by PBMCs from P7
 methadone-exposed pups was significantly increased compared to PBMCs from saline exposed controls. (B) After 24 h, TNF-α and CXCL1 levels from methadone
 PBMCs were significantly increased compared to saline levels. (C) Additionally, production of IL-6 and IL-10 by methadone PBMCs was significantly augmented,
 compared to saline controls (n = 3 per treatment group, unpaired t-test, ****p < 0.0001).




pg/mL, t-test, p < 0.0001) from methadone PBMCs, compared                              Using the same model of perinatal opioid exposure
to saline controls (Figure 4C).                                                    employed in the current study, we previously provided
                                                                                   evidence of neuroinflammation, microstructural brain injury,
DISCUSSION                                                                         persistent cognitive deficits, and peripheral immune activation
                                                                                   following perinatal opioid exposure (42). Here, we expand
As the opioid crisis continues to grow, increasing numbers                         our understanding of the systemic immune dysfunction
of pregnant women and infants are affected. While mounting                         through an in-depth characterization of peripheral immune cell
evidence indicates that prenatal opioid exposure is associated                     activity and reactivity following perinatal methadone exposure.
with significant and long-lasting neurological injury (17–19, 25),                 Utilizing a clinically applicable in vitro cell culture protocol and
information on the pathophysiology of opioid exposure during                       translational multiplex immunoassay inflammatory biomarker
the perinatal period is limited. Increasing our understanding                      panel (36, 37, 75–80), we found that at baseline PBMCs
of the cellular and molecular mechanisms that are impacted in                      derived from methadone-exposed P7 pups hypersecreted
circumstances of in utero opioid exposure is important for the                     proinflammatory molecules. Consistent with our previous
development and implementation of informed clinical practices,                     findings that PBMCs derived from methadone-exposed rats
in addition to the improvement of therapeutic options to support                   secreted increased levels of TNF-α at 3 and 24 h after collection
opioid-exposed infants.                                                            (42), here, we demonstrate that methadone PBMCs also secrete



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elevated levels of CXCL1 at 3 h. Increased expression of TNF-α           challenge we perform here is a method that has been used
and CXCL1 relative to PBMCs derived from saline-exposed                  clinically in children with developmental disorders and brain
controls was still evident at 24 h, demonstrating sustained              injury (35, 37). For instance, in a clinical study of children
peripheral immune activation of methadone-derived PBMCs                  born preterm with cerebral palsy (37) and preclinical model
at P7. Interestingly, after 24 h in culture, we observe additional       reminiscent of preterm CNS injury (41), PBMCs were assayed
evidence of dysregulated immune signaling with elevated IL-6             consistent with the in vitro approach employed in the current
and diminished IL-10 in methadone-exposed animals relative               study. Interestingly, in these studies, baseline secretion of
to saline controls, in addition to the increased TNF-α and               PBMCs did not differ between treatment groups (37, 41).
CXCL1 levels from methadone PBMCs. Despite probing for                   Only after stimulation with LPS did appreciable differences in
the presence of IL-6 and IL-10 at 3 h, the levels from both              PBMC chemokine and cytokine production appear in subjects
saline- and methadone-derived PBMCs remained below the                   with cerebral palsy (37), similar to preclinical studies (41,
detectable limits of the MECI. In summary, this evidence of              45, 73). Perinatal insult–specific PBMC properties, revealed
elevated PBMC baseline production of known proinflammatory               using this in vitro approach, support the potential use of
molecules TNF-α, CXCL1, and IL-6, with decreased levels of               secreted protein profiles from isolated PBMCs as a biomarker
anti-inflammatory IL-10 from methadone-exposed animals,                  to discern distinct pathologies and potentially guide clinical
likely contributes to a proinflammatory environment within the           treatment. Indeed, elucidating these profiles of immune signaling
systemic circulation (81).                                               molecules holds potential for use as a biomarker to determine
    To further characterize altered immune function, we                  vulnerability to sustained peripheral immune hyperreactivity.
stimulated cultured PBMCs with 100 ng/mL of LPS to represent             Specifically, biomarkers in neonates could provide estimation
an immune challenge and then quantified the chemokine and                of extent of immune system abnormalities and CNS injury
cytokine profile signature. While the addition of 100 ng/mL              and provide pharmacodynamic support to guide duration or
of LPS is a supraphysiological dose, it was formulated in                degree of treatment for neonatal opioid withdrawal syndrome
consideration of our previous work (41, 42) and based on                 or supportive care in neonatal intensive care units. In this
the dose response measured in TNF-α secretion to 10, 50,                 context, durable changes in PBMC reactivity may be an effective
and 100 ng/mL of LPS that we performed in this study. We                 biomarker, and clinical utility may prove high given the ease
demonstrate that 100 ng/mL produces a robust PBMC response               of access to these cells and well-defined clinical stimulation
in the in vitro PBMC culture assay we performed, allowing us             protocols (37, 43). However, while these in vitro PBMC
to examine chemokine and cytokine production by PBMCs                    assays are clinically relevant, they are distinctly different than
from both saline and methadone treatment groups. Following               studying the complex, multidimensional in vivo response to
3 h of LPS stimulation, we detected levels of TNF-α and                  inflammation, sepsis, and systemic sensitization catalyzed by
CXCL1 that were elevated from baseline in both methadone-                an LPS challenge. Unquestionably, further study is required to
and saline-exposed groups. Lipopolysaccharide-stimulated                 validate how circulating leukocytes respond to LPS immune
methadone PBMCs produced significantly more TNF-α and                    challenges in vivo and in the context of complex inflammatory
CXCL1 compared to PBMCs from stimulated saline control                   networks, systemic circulating factors, and all cells that
PBMCs. At 24 h, hyperreactivity of methadone PBMCs was                   express TLR4.
evident from significantly elevated levels of TNF-α, CXCL1,                 Peripheral blood mononuclear cell hypersecretion of
IL-6, and IL-10 compared to saline controls. Taken together,             proinflammatory molecules and PBMC hyperreactivity resultant
these data provide evidence of increased sensitivity and a               of gestational opioid exposure have important implications for
priming effect to subsequent inflammatory challenge in PBMCs             the developing CNS. Our previous preclinical report strongly
from methadone-exposed pups. This suggests a mechanism of                implicates brain injury secondary to opioid-induced systemic and
deleterious feed-forward inflammatory pathophysiology and                neuroinflammation (42). In alignment with the aforementioned
fetal programming of immune system activation induced by                 study, we now provide evidence of PBMC hypersection and
methadone. Indeed, immune plasticity altered by methadone                hyperreactivity, which could contribute to increased systemic
exposure may have long-lasting effects on the inflammatory               inflammation during the term equivalent developmental time
responses of circulating leukocytes later in life. Future studies        point, coinciding with the brain growth spurt, peak myelination
that assess the secretome and reactivity of PBMCs derived from           and gliogenesis, and astrocyte production (60, 63, 65–69, 83).
opioid-exposed subjects at later developmental time points               Increased chemokine and cytokine production by PBMCs
beyond P7 would be important to answer these questions.                  during the perinatal period jeopardizes proper neural cell
    Importantly, our in vitro approach allowed us to study               development and circuitry maturation. Indeed, inflammation
PBMC responsiveness and sensitivity in isolation of potential            during perinatal development results in lasting neurological
confounders such as Toll-like receptor–stimulating agents in the         impairment (77, 80, 84, 85). While future studies are needed
peripheral circulation (82). Our in vitro data showing increased         to clarify if methadone elicits PBMC systemic inflammation
proinflammatory signaling at baseline from methadone-exposed             via PBMC activation throughout the methadone exposure, it is
PBMCs, without any immune stimulation, are distinct to                   well-established that elevated levels of circulating inflammatory
this paradigm of perinatal injury and highlight this in vitro            proteins during later stages in brain development (late third
assay for use as a potential biomarker. The in vitro LPS                 trimester, term equivalent) are associated with brain injury,




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characterized by increased structural and functional neurological                There are important limitations to this present study. For
deficits (80, 84, 86–89). Specifically, in a recent study of                 instance, here PBMCs were isolated from pooled peripheral
systemic TNF-α inhibition in preterm fetal sheep exposed to                  blood from term equivalent male and female rats, limiting
LPS-induced inflammation, researchers identified circulating                 the ability to elucidate differences between individual animals
TNF-α as a critical contributor to neuroinflammation and                     and between male and female rat pups. Evidence from studies
pathogenesis of impaired neurodevelopment (90). Cytokine                     examining PBMCs isolated from adult humans suggests that
and chemokines produced by circulating leukocytes are able                   sex differences in stimulated PBMC properties and secretion
to cross the blood–brain barrier via selective transporters                  exist (105–107). While sex differences in secretion of PBMCs
(91). Furthermore, as in the specific case of TNF-α, increased               isolated at neonatal time points are not well-defined (35,
levels can contribute to impairment of the blood–brain barrier               37), evidence exists demonstrating sex-specific differences in
function (92–94), allowing for increased proinflammatory                     brain inflammation following circulating myeloid cells depletion
molecule access to the developing CNS. Opioids are able to                   in neonatal mice (108) and that inflammatory responses
cross from maternal circulation through the placenta to fetal                following immune cell activation in the immature brain differ
circulation owing to their low molecular weight, moderate                    between males and females, as reviewed by Mallard et al.
lipid solubility, and low protein binding (95). Once in fetal                (109). Thus, separate pooling of males and female peripheral
circulation, opioids are able to cross the fetal blood-brain barrier         blood from P7 pups for sex-specific analysis represents an
by means of numerous transporters (96, 97). Thus, not only                   important future direction. Additionally, although pooling of
are developing neural cells and circuitry exposed to elevated                blood from multiple P7 rat pups was necessary in these
levels of proinflammatory molecules in the context of opioid                 experiments to collect an adequate PBMC fraction following
exposure, but they are directly exposed to opioids as well. In               differential centrifugation, analysis at later time points with
the developing CNS, neurons in addition to oligodendrocytes,                 larger animals would not require pooling, allowing for analysis
astrocytes, and microglia express opioid receptors (98).                     of individual animal PBMC secretion and reactivity. Peripheral
Intriguingly, oligodendrocytes express opioid receptors in a                 blood mononuclear cells represent a heterogeneous population
maturation-dependent manner, in which immature stages of                     of mononuclear cells in the peripheral circulation composed
oligodendrocytes have increased opioid receptor expression                   of T cells, T regulatory cells, T helper cells, B cells, and
(98), rendering this population more vulnerable to opioid                    natural killer/dendritic cells/monocytes (110). Undoubtedly, flow
exposure. Ultimately, exposure to opioids in conjunction with                cytometric studies beyond the scope of the present investigation
the proinflammatory profile produced by opioid exposure                      are needed to define the precise immune cell population
characterized in the current investigation could contribute to               composition of PBMCs isolated from animals exposed to opioids
observed brain injury in preclinical studies (42), as well as clinical       during development.
studies indicating particular vulnerability to major white matter                In the current study, pregnant ram dams were implanted
tracts in infants exposed to opioids during brain development                with methadone administering osmotic minipumps on E16
(20, 22, 24, 25).                                                            prior to complete oligodendrocyte, microglial, and astrocyte
    Similar to the CNS, the immune system develops and                       maturation (60), limiting rat pup opioid exposure to E16
matures over the course of gestation and the perinatal period.               through P7 when PBMCs were collected. This prenatal
Dysregulated chemokines and cytokine production, and changes                 and postnatal opioid exposure paradigm accomplishes
in immune cells themselves, culminate in impaired immune                     opioid exposure up until the equivalent end of the
function that can last decades (35, 37). Similar to neural cells,            human third trimester. Future studies should now aim to
leukocytes are uniquely responsive to their environment.                     commence opioid exposure from the onset of pregnancy
Indeed, immune plasticity altered by prenatal insults may have               (E0), thereby encompassing the entirety of brain and
long-term effects on the inflammatory responses of circulating               immune development.
leukocytes, which may serve as a biomarker of persistent or                      In conclusion, we provide evidence in support of a
prior neuroinflammation and brain injury (99, 100). Infants                  systemic inflammatory response to perinatal opioid exposure,
exposed to intrauterine inflammation are at an increased risk                characterized by immune cell reprogramming and priming.
of neurodevelopmental disorders (101). Notably, newborns that                This evidence may in part contribute to the neurological
have elevated levels of biomarkers of systemic inflammation on               injury following developmental opioid exposure characterized
two occasions 1 week apart are at a higher risk of brain injury and          in our previous preclinical study (42). The current study
impaired neurodevelopment (77, 80, 84) Thus, understanding the               with the study by Jantzie et al. (42) joins a host of new
homeostatic regulation of central and peripheral inflammatory                and intriguing investigations that link developmental
cells in infants following opioid exposure, and the long-                    neurological injuries including cerebral palsy (37) and
term consequences of their dysregulation, is essential (102).                Down syndrome (35) with underlying systemic inflammation
Significantly, an increase in chemokines/cytokines can                       resultant of abnormal PBMC activity. Treatments that reduce
contribute to perinatal brain injury by multiple overlapping                 inflammation or support developing neural cells in the context of
mechanisms, including direct initiation of programed                         inflammation could rescue the poor neural outcomes observed
cell death pathways, microglial activation, immune cell                      in preclinical and clinical investigations of perinatal opioid
recruitment, mitochondrial damage, and endoplasmic reticulum                 exposure. Our future studies will aim to identify appropriate
stress (85, 103, 104).                                                       therapies that target these proinflammatory mechanisms


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underlying brain injury associated with in utero opioid                                  manuscript. All authors contributed to manuscript revision and
exposure (33, 111–114).                                                                  approved the final version.

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Animal Care and Use Committee (IACUC) at the University of                               of New Mexico, and from the Departments of Neurosurgery,
New Mexico Health Sciences Center.                                                       Neurology and Pediatrics at Johns Hopkins University and the
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LJ conceptualized the hypothesis and supervised the experiments.
JN, JM, YK, SR, and LJ designed and performed the experiments.                           We are grateful for the technical expertise of Tracylyn Yellowhair
SR and LJ interpreted the data. JN, LJ, and SR wrote the                                 and Dr.Ksenia Matlowska.



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